Case 1:23-mj-00274-MN Document 8-1 Filed 07/25/23 Page 1 of 8 PageID #: 924




                           EXHIBIT A
           Case 1:23-mj-00274-MN Document 8-1 Filed 07/25/23 Page 2 of 8 PageID #: 925


Theodore Kittila

From:                           Christopher Clark <clark@csvllp.com>
Sent:                           Tuesday, July 25, 2023 2:18 PM
To:                             Theodore Kittila
Cc:                             William E. Green; Richie Jones; matthew.salerno@lw.com; Timothy.McCarten@lw.com;
                                Brian.McManus@lw.com; Jessica.Bengels@lw.com
Subject:                        Re: [EXTERNAL EMAIL] E-Filing in USA v. Biden, 23-mj-274



Ted,

I stand by all of my statements and I hope you have an affidavit from the clerk in support of yours.

Chris

Christopher Clark
Partner
Clark Smith Villazor LLP
250 West 55th Street, 30th Floor
New York, New York 10019
O:212-582-4400 D:212-377-0853 M:646-763-3225

From: Theodore Kittila <tk@hfk.law>
Sent: Tuesday, July 25, 2023 2:15:49 PM
To: Christopher Clark <clark@csvllp.com>
Cc: William E. Green <wg@hfk.law>; Richie Jones <rjones@bergerharris.com>; matthew.salerno@lw.com
<matthew.salerno@lw.com>; Timothy.McCarten@lw.com <Timothy.McCarten@lw.com>; Brian.McManus@lw.com
<Brian.McManus@lw.com>; Jessica.Bengels@lw.com <Jessica.Bengels@lw.com>
Subject: RE: [EXTERNAL EMAIL] E-Filing in USA v. Biden, 23-mj-274

Chris –

You should probably take a step back from your statements. The clerk’s office advised that it was represented
to her that the request was being made by my firm. We will be advising Judge Noreika of this improper
conduct.

Very truly yours,
Ted


Theodore A. Kittila
Managing Partner




p 302-257-2025
e tk@hfk.law
                                                        1
            Case 1:23-mj-00274-MN Document 8-1 Filed 07/25/23 Page 3 of 8 PageID #: 926


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From: Christopher Clark [mailto:clark@csvllp.com]
Sent: Tuesday, July 25, 2023 2:13 PM
To: Theodore Kittila <tk@hfk.law>
Cc: William E. Green <wg@hfk.law>; Richie Jones <rjones@bergerharris.com>; matthew.salerno@lw.com;
Timothy.McCarten@lw.com; Brian.McManus@lw.com; Jessica.Bengels@lw.com
Subject: Re: [EXTERNAL EMAIL] E-Filing in USA v. Biden, 23-mj-274

Ted,

Your email is inaccurate. As far as I am aware, the managing attorney from Latham called the clerk’s office to
note that personal tax information of the defendant had been filed in a non reacted manner and to inquire
regarding having the information sealed, as we told you we would and as you said you understood. As far as I
am aware the clerk took the filing down on their own accord.

Your attempts to publicly file my client’s personal financial information with no protection ls are improper,
illegal and in violation of applicable rules. Please follow the rules in making your non-party and non-approved
filings. We will seek all appropriate sanctions in response to your actions.

Best,

Chris


Christopher Clark
Partner
Clark Smith Villazor LLP
250 West 55th Street, 30th Floor
New York, New York 10019
O:212-582-4400 D:212-377-0853 M:646-763-3225

From: Theodore Kittila <tk@hfk.law>
Sent: Tuesday, July 25, 2023 1:59:15 PM
To: Christopher Clark <clark@csvllp.com>
Cc: William E. Green <wg@hfk.law>; Richie Jones <rjones@bergerharris.com>; matthew.salerno@lw.com
<matthew.salerno@lw.com>; Timothy.McCarten@lw.com <Timothy.McCarten@lw.com>; Brian.McManus@lw.com
<Brian.McManus@lw.com>; Jessica.Bengels@lw.com <Jessica.Bengels@lw.com>
Subject: RE: [EXTERNAL EMAIL] E-Filing in USA v. Biden, 23-mj-274

Counsel:

                                                                            2
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Someone from your side unilaterally contacted the Court and had our filing taken down. It was represented to
the Court that there were “social security numbers” in the filing. The clerk was also under the impression that
this was my firm’s paralegal that did this. This is not accurate, and the Clerk’s office has been made aware of
this.

We ask that you immediately provide your basis for what you claim should not have been publicly filed, as we
believe that this was improper. If you want to move for a protective order, you must move for one.

Very truly yours,
Ted


Theodore A. Kittila
Managing Partner




p 302-257-2025
e tk@hfk.law

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Wilmington, Delaware 19807
www.hfk.law


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From: Theodore Kittila
Sent: Tuesday, July 25, 2023 12:21 PM
To: Christopher Clark <clark@csvllp.com>
Cc: William E. Green <wg@hfk.law>; Richie Jones <rjones@bergerharris.com>; matthew.salerno@lw.com;
Timothy.McCarten@lw.com; Brian.McManus@lw.com; Jessica.Bengels@lw.com
Subject: Re: [EXTERNAL EMAIL] E-Filing in USA v. Biden, 23-mj-274

We understand Chris.

Best regards,
Ted

Theodore A. Kittila
Managing Partner
Halloran Farkas + Kittila LLP


p 302-257-2025
                                                                            3
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e tk@hfk.law


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received this communication in error, please notify Halloran Farkas + Kittila LLP immediately and delete the
original message. Thank you.
Sent from my iPhone




       On Jul 25, 2023, at 12:18 PM, Christopher Clark <clark@csvllp.com> wrote:


       We will be moving to seal the filing and we reserve all rights.

       Christopher Clark
       Partner
       Clark Smith Villazor LLP
       250 West 55th Street, 30th Floor
       New York, New York 10019
       O:212-582-4400 D:212-377-0853 M:646-763-3225

       From: William E. Green <wg@hfk.law>
       Sent: Tuesday, July 25, 2023 12:16:40 PM
       To: Christopher Clark <clark@csvllp.com>; Richie Jones <rjones@bergerharris.com>; Theodore Kittila
       <tk@hfk.law>
       Cc: matthew.salerno@lw.com <matthew.salerno@lw.com>; Timothy.McCarten@lw.com
       <Timothy.McCarten@lw.com>; Brian.McManus@lw.com <Brian.McManus@lw.com>;
       Jessica.Bengels@lw.com <Jessica.Bengels@lw.com>
       Subject: RE: [EXTERNAL EMAIL] E-Filing in USA v. Biden, 23-mj-274

       We will not be filing under seal. All of the tax payer information was made public through a Committee
       vote and has been available to the public since June 22, 2023.

       William E. Green, Jr.
       Partner
       <image001.png>
       p 302-268-6875
       m 302-545-5498
       e wg@hfk.law

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       Wilmington, DE 19807
       www.hfk.law
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Thank you.


From: Christopher Clark <clark@csvllp.com>
Sent: Tuesday, July 25, 2023 12:12 PM
To: William E. Green <wg@hfk.law>; Richie Jones <rjones@bergerharris.com>; Theodore Kittila
<tk@hfk.law>
Cc: matthew.salerno@lw.com; Timothy.McCarten@lw.com; Brian.McManus@lw.com;
Jessica.Bengels@lw.com
Subject: Re: [EXTERNAL EMAIL] E-Filing in USA v. Biden, 23-mj-274

So are you declining to file it under seal, please answer directly.

Christopher Clark
Partner
Clark Smith Villazor LLP
250 West 55th Street, 30th Floor
New York, New York 10019
O:212-582-4400 D:212-377-0853 M:646-763-3225

From: William E. Green <wg@hfk.law>
Sent: Tuesday, July 25, 2023 11:52:07 AM
To: Richie Jones <rjones@bergerharris.com>; Theodore Kittila <tk@hfk.law>
Cc: Christopher Clark <clark@csvllp.com>; matthew.salerno@lw.com <matthew.salerno@lw.com>;
Timothy.McCarten@lw.com <Timothy.McCarten@lw.com>; Brian.McManus@lw.com
<Brian.McManus@lw.com>; Jessica.Bengels@lw.com <Jessica.Bengels@lw.com>
Subject: RE: [EXTERNAL EMAIL] E-Filing in USA v. Biden, 23-mj-274

All of the information in the filing is publicly available and is hosted at the Ways and Means Committee’s
website. https://waysandmeans.house.gov/event/meeting-on-documents-protected-under-internal-
revenue-code-section-6103/


William E. Green, Jr.
Partner
<image001.png>
p 302-268-6875
m 302-545-5498
e wg@hfk.law

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                                                         5
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From: Richie Jones <rjones@bergerharris.com>
Sent: Tuesday, July 25, 2023 11:48 AM
To: Theodore Kittila <tk@hfk.law>
Cc: William E. Green <wg@hfk.law>; Christopher Clark <clark@csvllp.com>; matthew.salerno@lw.com;
Timothy.McCarten@lw.com; Brian.McManus@lw.com; Jessica.Bengels@lw.com
Subject: RE: E-Filing in USA v. Biden, 23-mj-274
Importance: High

Ted:

Portions of your below-attached filing by the House Ways and Means Committee Member contain grand
jury and confidential tax payer information that must be sealed immediately. Please contact the Court
immediately and pull the filing pending a sealed filing. We will notify you in short order which portions
of the filing should remain under seal.

Richie

 <image002.png>    Richard I.G. Jones, Jr.
                   Partner
                   BERGER//HARRIS LLP
                   302.476.8430 direct
                   rjones@bergerharris.com



From: Theodore Kittila <tk@hfk.law>
Sent: Tuesday, July 25, 2023 10:33 AM
To: Richie Jones <rjones@bergerharris.com>
Cc: William E. Green <wg@hfk.law>
Subject: E-Filing in USA v. Biden, 23-mj-274

EXTERNAL EMAIL

Richie –

As discussed, please find the filings in the above-referenced matter.

Best regards,
Ted


Theodore A. Kittila
Managing Partner
<image003.png>
p 302-257-2025
e tk@hfk.law

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Wilmington, Delaware 19807
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